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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §           CASE NO. 2:06CR21(4)
                                                 §
 THOMAS ALBERT STEWART                           §



              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

        On this day, the court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Chad Everingham regarding the defendant’s plea of guilty and allocution of the

 defendant on an indictment charging the defendant in Count 2 with a violation of 21 U.S.C. §

 841(a)(1), Possession with Intent to Distribute Methamphetamine(actual). Having conducted a

 proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge

 recommends that the court accept the guilty plea of the defendant. No objections were filed to the

 Findings of Fact and Recommendation. The court is of the opinion that the Findings of Fact and

 Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

 States Magistrate Judge, filed August 31, 2007, are hereby ADOPTED.

        It is further ORDERED that, pursuant to defendant’s plea agreement, the court finds

 defendant GUILTY of Count 2 of the Indictment in the above-numbered cause.




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     SIGNED this 15th day of January, 2008.



                                        __________________________________________
                                        T. JOHN WARD
                                        UNITED STATES DISTRICT JUDGE




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